                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE:                                               :      CHAPTER 11
                                                     :
Pocono Mountain Lake Forest Community Assn,          :
Inc.                                                 :      CASE NO. 5:22-bk-00481-MJC
                                                     :
                                                     :
DEBTOR                                               :


                                  ENTRY OF APPEARANCE

         Please enter my appearance on behalf of the United States Trustee’s Office in the above

captioned case.

                                                     Respectfully submitted,

                                                     ANDREW R. VARA
                                                     UNITED STATES TRUSTEE
                                                     REGIONS 3 & 9

                                                     D. Troy Sellars
                                                     Assistant United States Trustee


                                                     By:/s/ Joseph P. Schalk
                                                     Joseph P. Schalk, Esq., Trial Attorney
                                                     PA Attorney ID No. 91656
                                                     United States Department of Justice
                                                     Office of the United States Trustee
                                                     Middle District of Pennsylvania
                                                     228 Walnut Street, Suite 1190
                                                     Harrisburg, PA 17101
                                                     Tel. (717) 221-4515
                                                     Fax (717) 221-4554
                                                     Email: Joseph.Schalk@usdoj.gov

Dated: March 17, 2022




Case 5:22-bk-00481-MJC          Doc 4 Filed 03/17/22 Entered 03/17/22 08:43:51                Desc
                                Main Document    Page 1 of 1
